
535 Pa. 122 (1993)
634 A.2d 214
Lynne ABRAHAM, District Attorney for the City and County of Philadelphia, Appellant
v.
The DEPARTMENT OF CORRECTIONS OF PENNSYLVANIA; Robert P. Casey, Governor of the Commonwealth of Pennsylvania; Joan Reeves, in her official capacity as Commissioner of the Department of Human Services; J. Patrick Gallagher, in his official capacity as Commissioner of the Philadelphia Prison System; David Pingree, in his official capacity as Managing Director of Philadelphia; W. Wilson Goode, in his official capacity as Mayor of the City of Philadelphia; the City of Philadelphia; Reverend Albert F. Campbell, Labora M. Bennett, James D. Barber, Allen M. Hornblum, M. Mark Mendel, Donald J. Padova, each in his or her official capacity as a member of the Board of Trustees of the Philadelphia Prison System; Harry Moore, in his official capacity as Warden for Holmesburg Prison; Wilhelmina Speach, in her official capacity as Warden of the Detention Center; and Elsa Legesse, in her official capacity as Warden of the House of Correction, Appellees.
Supreme Court of Pennsylvania.
Argued December 6, 1993.
Decided December 20, 1993.
Reargument Denied April 6, 1994.
Sarah B. Vandenbraak, for District Atty.
William E. Fairall, Camp Hill, for Com.
James B. Jordan, Philadelphia, for City of Philadelphia.
John W. Packel, Philadelphia, for amicus-Defender Assoc. of Philadelphia.
Before NIX, C.J., and FLAHERTY, ZAPPALA, PAPADAKOS, CAPPY and MONTEMURO, JJ.


*123 ORDER

PER CURIAM:
Order affirmed.
LARSEN, J., did not participate in the consideration or decision of this case.
PAPADAKOS and CAPPY, JJ., dissent.
